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 4
 5   Attorney for:
     EDGAR EDUARDO HERRERA
 6
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )   CASE NO.: 2:15-CR-00131 TLN
                                                    )
12                Plaintiff,                        )
13                                                  )   STIPULATION AND ORDER TO
           vs.                                      )   MODIFY BRIEFING SCHEDULE
14                                                  )
     EDGAR EDUARDO HERRERA,                         )
15
                                                    )   Court: Hon. Troy L. Nunley
16                Defendant.                        )
17
                      STIPULATION TO MODIFY BRIEFING SCHEDULE
18
           Plaintiff United States of America, by and through its counsel of record, and
19
     defendant, by and through defendant’s counsel of record, hereby stipulate as follows:
20
        1. On September 4, 2020, defendant Edgar Herrera filed a Motion to Reduce his
21
22         Sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) (compassionate release). ECF No.

23         477.
24
        2. On September 21, 2020, the United States filed its opposition brief to Mr. Herrera's
25
           motion. ECF No. 481.
26
27      3. Mr. Herrera's reply brief is presently due on Monday, September 28, 2020.
28

                         STIPULATION AND ORDER TO MODIFY BRIEFING SCHEDULE
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 1      4. Counsel for Mr. Herrera needs an additional week to receive a document from Mr.
 2          Herrera in the mail and to further obtain documents to address the assertions in the
 3
            United States' opposition brief. The United States does not oppose this request.
 4
 5      5. Therefore, the parties agree and propose that Mr. Herrera's reply brief be filed on, or

 6          by, October 5, 2020.
 7
        6. By this stipulation, the parties request the Court to order the proposed modification
 8
            to the briefing schedule.
 9
10          IT IS SO STIPULATED.

11   Dated: September 23, 2020                               McGREGOR W. SCOTT
                                                             United States Attorney
12
13                                                           /s/ Scott N. Cameron for Justin L. Lee
                                                             JUSTIN L. LEE
14                                                           Assistant United States Attorney
15
16   Dated: September 23, 2020                               /s/Scott N. Cameron
17                                                           SCOTT N. CAMERON
                                                             Attorney for Defendant
18                                                           Edgar Eduardo Herrera
19
20                                               ORDER

21          Based on the facts stated in the above stipulation, the Court hereby modifies the

22   briefing schedule on defendant's Motion to Reduce Sentence such that defendant Herrera's

23   reply brief shall be filed by October 5, 2020.

24          IT IS SO ORDERED this 23rd day of September, 2020

25
26
27                                                              Troy L. Nunley
28                                                              United States District Judge


                         STIPULATION AND ORDER TO MODIFY BRIEFING SCHEDULE
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